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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   916-447-1193
 4   Attorney for Defendant
     Susan D’Orta
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 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )
                                         )            NO. Cr.S-04-0026-WBS
11                 Plaintiff,            )
                                         )
12   v.                                  )            STIPULATION AND PROPOSED
                                         )            ORDER
13   Susan D’Orta.                       )
                                         )
14                 Defendant.            )
                                         )
15   ____________________________________)
16
            Defendants Susan D’Orta and James Bledsoe, through respective counsel, and
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     the United States of America, through Assistant U.S. Attorney Matt Segal, agree that
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     the Status Conference set for Monday, February 26, 2007 at 8:30 am be continued to
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     Monday, March 12, 2007 at 8:30 am .
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            In addition, it is agreed that the court should find excludable time from the date of
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     the last proceeding, pursuant to local rule T-2, T-4.
22
23
     Respectfully submitted,
24
25
     DATED: February 22, 2007                  _/S/__________________
26                                             DWIGHT M. SAMUEL
                                               Attorney for Defendant
27                                             Susan D’Orta
28
            Case 2:04-cr-00026-WBS Document 97 Filed 02/23/07 Page 2 of 2


 1   DATED: February 22, 2007          _/S/__________________
                                       Matt Bockmon
 2                                     Attorney for Defendant
                                       James Bledsoe
 3
 4   DATED: February 22, 2007          _/S/__________________
                                       Matt Segal
 5                                     Assistant United States Attorney
 6
 7
 8
          IT IS SO ORDERED.
 9
     DATED: February 22, 2007
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